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Prabl2(10y09)
VAE(rev. 5/17)
                                UNITED STATES DISTRICT COURT
                                                    for the
                                EASTERN DISTRICT OF VIRGINIA


U.SA.vs. Dexter Lemar Prioleau                                               Docket No. I:19mil03

                                            Petition on Probation


       COMES NOW Leo R. Pet. PROBATION OFFICER OF THE COURT,presenting an official report upon
the conduct and attitude of Dexter Lemar Prioleau. who was placed on supervision by the Honorable John F.
Anderson, United States Magistrate Judge sitting in the Court at Alexandria. Virginia, on the IM day of May,
2019. who fixed the period ofsupervision atone(H vear. and imposed the general terms and conditions heretofore
adopted by the Court and also imposed special conditions and terms as follows: 1)the defendant shall participate
in and successfully complete an Alcohol Safety action Program or other alcohol treatment program as deemed
appropriate by the probation officer;and 2)the defendant shall pay a $250.00 fine and a $25.00 special assessment
as to Count 1,to be paid by August 13,2019.


RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS:
                                                 See At(achtneDt(s)




PRAYING THAT THE COURT WILL ORDER a summons to be issued directing that the offender appear
before the Court to show cause why supervision should not be revoked.


Returnable date:                     /[                      A /VJ


                 ORDER OF COURT                              I declare under the penalty of perjury that the
                                                             foregoing is true and correct.
  Considered and ordered this Jlir day of
  September, 2019 and ordered filed and made a part
  ofthe records in the above case.


                       ./s/        3«r
          John F. Anderson                                   U.S. Probation Officer
          United States Magistrate Judge                     703-299-2289


  John F. Anderson                                           Place Alexandria. Virginia
  United States Magistrate Judge




TO CLERK'S OFFICE
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